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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES - GENERAL

  Case No.     CV 19-10956-DMG (RAOx)                                Date     February 7, 2020

  Title Lydia Olson, et al. v. State of California, et al.


  Present: The Honorable      DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                Kane Tien                                            Katie Thibodeaux
               Deputy Clerk                                           Court Reporter

     Attorneys Present for Plaintiff(s)                      Attorneys Present for Defendant(s)
            Theane Evangelis                                  Jose A Zelidon-Zepeda, CAAG
           Blaine H. Evanson
               Alex Harris

  Proceedings: PLAINTIFFS' MOTION FOR PRELIMINARY INJUNCTION [14]

         The cause is called and counsel state their appearance. The Court invites counsel to
  respond to the tentative ruling. Following oral argument, the Court advises counsel that the
  motion shall be taken under submission and a written order will issue.




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  CV-90                              CIVIL MINUTES - GENERAL                Initials of Deputy Clerk KT
